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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA

                                            CASE NO.:

DEBORAH LAUFER, an individual,
         Plaintiff,
v.

ASTHA LAXMI, LLC, a Florida limited liability company,
         Defendant(s).
                               //

                                         COMPLAINT
                                  (Injunctive Relief Demanded)

       Plaintiff, DEBORAH LAUFER, individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

ASTHA LAXMI, LLC (sometimes referred to as “Defendant”), for Injunctive Relief, and

attorney’s fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12181 et seq. (“ADA”).

   1. Plaintiff is a resident of Alachua County, Florida, is sui juris, and qualifies as an individual

with disabilities as defined by the ADA. Plaintiff is unable to engage in the major life activity of

walking more than a few steps without assistive devices. Instead, Plaintiff is bound to ambulate in

a wheelchair or with a cane or other support and has limited use of her hands. She is unable to

tightly grasp, pinch and twist of the wrist to operate. Plaintiff is also vision impaired. When

ambulating beyond the comfort of her own home, Plaintiff must primarily rely on a wheelchair.

Plaintiff requires accessible handicap parking spaces located closest to the entrances of a facility.

The handicap and access aisles must be of sufficient width so that she can embark and disembark
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from a ramp into her vehicle. Routes connecting the handicap spaces and all features, goods and

services of a facility must be level, properly sloped, sufficiently wide and without cracks, holes or

other hazards that can pose a danger of tipping, catching wheels or falling. These areas must be

free of obstructions or unsecured carpeting that make passage either more difficult or impossible.

Amenities must be sufficiently lowered so that Plaintiff can reach them. She has difficulty

operating door knobs, sink faucets, or other operating mechanisms that tight grasping, twisting of

the wrist or pinching. She is hesitant to use sinks that have unwrapped pipes, as such pose a danger

of scraping or burning her legs. Sinks must be at the proper height so that she can put her legs

underneath to wash her hands. She requires grab bars both behind and beside a commode so that

she can safely transfer and she has difficulty reaching the flush control if it is on the wrong side.

She has difficulty getting through doorways if they lack the proper clearance.

    2. Plaintiff is an advocate of the rights of similarly situated disabled persons and is a "tester"

for the purpose of asserting her civil rights and monitoring, ensuring, and determining whether

places of public accommodation and their websites are in compliance with the ADA.

    3. According to the county property records, Defendant owns a place of public

accommodation as defined by the ADA and the regulations implementing the ADA, 28 CFR

36.201(a) and 36.104. The place of public accommodation that the Defendant owns is a place of

lodging known as Quality Inn, and is located in the County of , (hereinafter "Property").

    4. Venue is properly located in the Northern District of Florida because the injury occurred

in this district.


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   5. Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

jurisdiction over actions which arise from the Defendant’s violations of Title III of the Americans

with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and § 2202.

   6. As the owner of the subject place of lodging, Defendant is required to comply with the

ADA. As such, Defendant is required to ensure that it's place of lodging is in compliance with the

standards applicable to places of public accommodation, as set forth in the regulations promulgated

by the Department Of Justice. Said regulations are set forth in the Code Of Federal Regulations,

the Americans With Disabilities Act Architectural Guidelines ("ADAAGs"), and the 2010 ADA

Standards, incorporated by reference into the ADA. These regulations impose requirements

pertaining to places of public accommodation, including places of lodging, to ensure that they are

accessible to disabled individuals.

   7. More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following requirement:

       Reservations made by places of lodging. A public accommodation that owns,
       leases (or leases to), or operates a place of lodging shall, with respect to
       reservations made by any means, including by telephone, in-person, or through a
       third party -

               (i) Modify its policies, practices, or procedures to ensure that individuals
               with disabilities can make reservations for accessible guest rooms during
               the same hours and in the same manner as individuals who do not need
               accessible rooms;

               (ii) Identify and describe accessible features in the hotels and guest rooms
               offered through its reservations service in enough detail to reasonably
               permit individuals with disabilities to assess independently whether a
               given hotel or guest room meets his or her accessibility needs;




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               (iii) Ensure that accessible guest rooms are held for use by individuals with
               disabilities until all other guest rooms of that type have been rented and
               the accessible room requested is the only remaining room of that type;

               (iv) Reserve, upon request, accessible guest rooms or specific types of
               guest rooms and ensure that the guest rooms requested are blocked and
               removed from all reservations systems; and

               (v) Guarantee that the specific accessible guest room reserved through its
               reservations service is held for the reserving customer, regardless of
               whether a specific room is held in response to reservations made by others.

   8. These regulations became effective March 15, 2012.

   9. Defendant, either itself or by and through a third party, implemented, operates, controls

and or maintains websites for the Property which contains an online reservations system. These

websites     are   located    at     https://www.choicehotels.com/florida/tallahassee/quality-inn-

hotels/fl729?source=gyxt;          https://www.booking.com/hotel/us/quality-inn-tallahassee.html;

https://www.expedia.com/Tallahassee-Hotels-Quality-Inn-Tallahassee-Near-

University.h1040426.Hotel-Information;

https://www.priceline.com/relax/at/5056505/from/20191014/to/20191015/rooms/1/?preferredhot

elids=5056505. This term also includes all other websites owned and operated by Defendant or by

third parties to book or reserve guest accommodations at the hotel. The purpose of these websites

is so that members of the public may reserve guest accommodations and review information

pertaining to the goods, services, features, facilities, benefits, advantages, and accommodations of

the Property. As such, these websites are subject to the requirements of 28 C.F.R. Section

36.302(e).



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   10. Prior to the commencement of this lawsuit, Plaintiff visited the websites for the purpose of

reviewing and assessing the accessible features at the Property and ascertain whether they meet

the requirements of 28 C.F.R. Section 36.302(e) and her accessibility needs. However, Plaintiff

was unable to do so because Defendant failed to comply with the requirements set forth in 28

C.F.R. Section 36.302(e). As a result, Plaintiff was deprived the same goods, services, features,

facilities, benefits, advantages, and accommodations of the Property available to the general

public.

   11. Specifically, the following violations were found:

   a. www.booking.com – This website references one room labeled “King Room – Disability
      Access/Non-Smoking” with no information as to what makes this room accessible. No
      information was given about accessibility in the hotel other than the statements
      “Accessible parking” and “Facilities for disabled guests”.
   b. www.expedia.com - This website references one room labeled “Room – 1 King Bed,
      Accessible, Non-Smoking” with no information as to what makes this room accessible.
      One reference to one room labeled “Standard Room 1 King Bed, Non-Smoking” with the
      statement “Wheelchair accessible” listed in the description. No information was given
      about accessibility in the hotel other than the statements “Accessible bathroom”
      “Wheelchair accessible path of travel”, “Roll-in shower”, “Wheelchair accessible
      parking” and “In-room accessibility”
   c. www.priceline.comm - This website references one room labeled “King Room –
      Disability Access/Non-Smoking” with no information as to what makes this room
      accessible. No information was given about accessibility in the hotel other than the
      statements “Accessible facilities” and “Handicapped rooms/facilities”.

   12. In the near future, Plaintiff intends to revisit Defendant's websites and/or online

reservations system in order to test them for compliance with 28 C.F.R. Section 36.302(e) and/or

to utilize the websites to reserve a guest room and otherwise avail herself of the goods, services,

features, facilities, benefits, advantages, and accommodations of the Property.


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    13. Plaintiff is continuously aware that the subject websites remain non-compliant and that it

would be a futile gesture to revisit the websites as long as those violations exist unless she is willing

to suffer additional discrimination.

    14. The violations present at Defendant's websites infringe Plaintiff's right to travel free of

discrimination and deprive her of the information required to make meaningful choices for travel.

Plaintiff has suffered, and continues to suffer, frustration and humiliation as the result of the

discriminatory conditions present at Defendant's website. By continuing to operate the websites

with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation and

segregation and deprives Plaintiff the full and equal enjoyment of the goods, services, facilities,

privileges and/or accommodations available to the general public. By encountering the

discriminatory conditions at Defendant's website, and knowing that it would be a futile gesture to

return to the websites unless she is willing to endure additional discrimination, Plaintiff is deprived

of the same advantages, privileges, goods, services and benefits readily available to the general

public. By maintaining a websites with violations, Defendant deprives Plaintiff the equality of

opportunity offered to the general public. Defendant's online reservations system serves as a

gateway to its hotel. Because this online reservations system discriminates against Plaintiff, it is

thereby more difficult to book a room at the hotel or make an informed decision as to whether the

facilities at the hotel are accessible.

    15. Plaintiff has suffered and will continue to suffer direct and indirect injury as a result of the

Defendant’s discrimination until the Defendant is compelled to modify its websites to comply with


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the requirements of the ADA and to continually monitor and ensure that the subject websites

remains in compliance.

   16. Plaintiff has a realistic, credible, existing and continuing threat of discrimination from the

Defendant’s non-compliance with the ADA with respect to these websites. Plaintiff has reasonable

grounds to believe that she will continue to be subjected to discrimination in violation of the ADA

by the Defendant.

   17. The Defendant has discriminated against the Plaintiff by denying her access to, and full

and equal enjoyment of, the goods, services, facilities, privileges, advantages and/or

accommodations of the subject website.

   18. The Plaintiff and all others similarly situated will continue to suffer such discrimination,

injury and damage without the immediate relief provided by the ADA as requested herein.

   19. Defendant has discriminated against the Plaintiff by denying her access to full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations of its

place of public accommodation or commercial facility in violation of 42 U.S.C. § 12181 et seq.

and 28 CFR 36.302(e). Furthermore, the Defendant continues to discriminate against the Plaintiff,

and all those similarly situated by failing to make reasonable modifications in policies, practices

or procedures, when such modifications are necessary to afford all offered goods, services,

facilities, privileges, advantages or accommodations to individuals with disabilities; and by failing

to take such efforts that may be necessary to ensure that no individual with a disability is excluded,

denied services, segregated or otherwise treated differently than other individuals because of the

absence of auxiliary aids and services.
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   20. Plaintiff is without adequate remedy at law and is suffering irreparable harm. Plaintiff has

retained the undersigned counsel and is entitled to recover attorney’s fees, costs and litigation

expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

   21. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

Injunctive Relief, including an order to require the Defendant to alter the subject websites to make

them readily accessible and useable to the Plaintiff and all other persons with disabilities as defined

by the ADA and 28 C.F.R. Section 36.302(e); or by closing the websites until such time as the

Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

   a. The Court issue a Declaratory Judgment that determines that the Defendant at the

       commencement of the subject lawsuit is in violation of Title III of the Americans with

       Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

   b. Injunctive relief against the Defendant including an order to revise its websites to comply

       with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and maintain the

       websites to ensure that it remains in compliance with said requirement.

   c. An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C. § 12205.

   d. Such other relief as the Court deems just and proper, and/or is allowable under Title III of

       the Americans with Disabilities Act.

                                               Respectfully Submitted,
                                               /s/Suzette M. Marteny Moore
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                                               Fla. Bar No. 668591
                                               S. MOORE LAW, PLLC
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